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 1                                                               THE HONORABLE ROBERT J. BRYAN

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 4
 5
 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
 8                                        AT TACOMA

 9
10             STATE OF WASHINGTON,                       Case No.: 3:17-cv-05806-RJB
11                                       Plaintiff,
                                                          DECLARATION OF JOAN K. MELL
12             v.                                         ATTACHING PUBLIC RECORDS FROM
                                                          THE GOVERNOR’S OFFICE AND
13
               THE GEO GROUP, INC.,                       COMMUNICATIONS FROM L&I
14
                                         Defendant.
15
16
17           I, Joan K. Mell, make the following statement under oath subject to the penalty of perjury
18   pursuant to the laws of the United States and the State of Washington:
19
     1. I am the attorney for The GEO Group, Inc. in the above-captioned matter. I am over the age of
20
21      eighteen (18), and I am competent to testify in this matter.

22   2. Attached at Bates Nos. 5-45 are true and correct copies of documents received in response to a
23
        Public Records Request submitted to Governor Inslee’s office.
24
     3. Attached also at Bates Nos. 1-4 are true and correct copies of a Public Records Request
25
26      submitted to the Department of Labor and Industries (“L&I”) and the corresponding

27      communications back from L&I delaying its response to the public records request.
28
29
                                                                                   III BRANCHES LAW, PLLC
      DECLARATION OF JOAN K. MELL ATTACHING DOCUMENTS FROM                                 Joan K. Mell
30    THE GOVERNOR’S OFFICE                                                         1019 Regents Blvd. Ste. 204
      AND PRR COMMUNICATIONS FROM L&I -                                                 Fircrest, WA 98466
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 1   4. I have also attached at Bates Nos. 46-62 excerpted deposition testimony and exhibits from
 2      L&I’s speaking agent 02/24/18 testifying about L&I’s lack of jurisdiction over NWDC.
 3
     5. On or about Friday September 28, 2018, I spoke with Tammy Fellin about identifying the
 4
 5      assistant attorney general who was advising L&I at the March 11, 2014 meeting and

 6      corresponding decision making regarding L&I jurisdiction over the NWDC at that time, and
 7
        who would be her representative now. She indicated she would get back to me. I have not
 8
        received a response as of Monday October 1, 2018 before the scheduling hearing.
 9
10   6. I have also spoken with Nicholas Brown asking him to authenticate the PRR documents and

11      affirm by way of a declaration that the Governor’s Office and L&I concluded that Washington
12
        State had no jurisdiction to enforce the Minimum Wage Act against GEO for the detainee
13
        participants in the Voluntary Work Program when the Governor’s Office received a request for
14
15      L&I investigation in 2014. Mr. Brown is formulating his testimony and indicated he would get

16      back with me later this week.
17
            Dated this 1st day of October, 2018 at Fircrest, WA.
18
            III Branches Law, PLLC
19
20          _______________________
            Joan K. Mell, WSBA #21319
21
            Attorney for The Geo Group, Inc.
22
23
24
25
26
27
28
29
                                                                                 III BRANCHES LAW, PLLC
      DECLARATION OF JOAN K. MELL ATTACHING DOCUMENTS FROM                               Joan K. Mell
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 1                                      CERTIFICATE OF SERVICE
 2          I, Joseph Fonseca, hereby certify as follows:
 3
            I am over the age of 18, a resident of Pierce County, and not a party to the above action. On
 4
     October 1, 2018, I electronically filed the above Declaration of Joan K. Mell, with the Clerk of the
 5
 6   Court using the CM/ECF system and served via Email to the following:

 7   Office of the Attorney General                         Norton Rose Fulbright US LLP
     La Rond Baker, WSBA No. 43610                          Charles A. Deacon (Pro Hac Vice)
 8
     Marsha Chien, WSBA No. 47020                           300 Convent St.
 9   Andrea Brenneke, WSBA No. 22027                        San Antonio, TX 78205
     Eric A. Mentzer, WSBA No. 21243                        charlie.deacon@nortonrosefulbright.com
10
     800 Fifth Avenue, Suite 2000
11   Seattle, WA 98104                                      Norton Rose Fulbright US LLP
     LaRondB@atg.wa.gov                                     Mark Emery (Pro Hav Vice)
12
     MarshaC@atg.wa.gov                                     799 9th St. NW, Suite 1000
13   andreab@atg.wa.gov                                     Washington, D.C. 20001-4501
     EricM@atg.wa.gov                                       mark.emery@nortonrosefulbright.com
14
15   Norton Rose Fulbright US LLP                           Greenberg Traurig, LLP
16   Andrea D'Ambra (Pro Hac Vice)                          Scott Schipma (Pro Hac Vice)
     1301 Avenue of the Americas                            2101 L Street, NW
17   New York, NY 10019                                     Washington, D.C. 20037
18   andrea.dambra@nortonrosefulbright.com                  schipmas@gtlaw.com

19          I certify under penalty of perjury under the laws of the State of Washington that the above
20
     information is true and correct.
21
            DATED this 1st day of October, 2018 at Fircrest, Washington.
22
23
24                  Joseph Fonseca, Paralegal
25
26
27
28
29
                                                                                      III BRANCHES LAW, PLLC
      DECLARATION OF JOAN K. MELL ATTACHING DOCUMENTS FROM                                    Joan K. Mell
30    THE GOVERNOR’S OFFICE                                                            1019 Regents Blvd. Ste. 204
      AND PRR COMMUNICATIONS FROM L&I -                                                    Fircrest, WA 98466
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